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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 322: ORDER
                                                    GRANTING IN PART AND DENYING
   Glassman v. Monsanto Co.,                        IN PART MONSANTO’S MOTION TO
   Case No. 3:20-cv-00024-VC                        EXCLUDE EXPERT HAMBURG AND
                                                    MOTION FOR SUMMARY
   Iona v. Monsanto Co.,                            JUDGMENT
   Case No. 3:20-cv-02404-VC                        Re: Dkt. No. 19051, 19448
   Berenfeld v. Monsanto Co.,
   Case No. 3:18-cv-01428-VC

   Proctor v. Monsanto Co.,
   Case No. 3:21-cv-00172-VC

   Belfleur v. Monsanto Co.,
   Case No. 3:20-cv-00621-VC

   Thompson v. Monsanto Co.,
   Case No. 3:20-cv-08851-VC

   Holmes v. Monsanto Co.,
   Case No. 3:20-cv-03363-VC



       Monsanto’s motion to exclude the testimony of Dr. Solomon Hamburg is granted in six

of the seven cases. This ruling assumes the reader’s familiarity with the facts, the applicable

legal standard, the prior Daubert rulings in this MDL, and the arguments made by the parties.

See generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal.
2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358
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F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto

Company, 997 F.3d 941 (9th Cir. 2021).1

          Monsanto’s motion seeks to exclude both the general and specific causation opinions

offered by Hamburg. In their opposition, the plaintiffs state they “no longer seek to offer Dr.

Hamburg’s general causation opinions in any of the underlying seven (7) cases.” Plaintiffs’ Opp.

(Dkt. No. 19431) at 4, n.1. Despite not having his own general causation opinion, Hamburg

reliably “ruled in” exposure to Roundup as a cause of all seven of the plaintiffs’ cancer, because

he incorporated the general causation reports of Drs. Portier, Ritz, and Weisenburger, which

provide a basis to conclude that exposure to glyphosate can cause NHL. See Hamburg Report

(Iona) (Dkt. No. 19051-2) at 1. And his use of the “exposure days” metric to determine whether

the plaintiffs had been exposed to enough Roundup for it to potentially cause their NHL is

similar to the method the Court found reliable in PTO 290. See Dkt. No. 18320. As was

discussed there, there may be more sophisticated ways of measuring dose or exposure, but that is

not enough, on its own, to preclude Hamburg from testifying.

          But with respect to Hamburg’s “ruling out” process, it’s clear from the totality of his

testimony in these seven cases that he’s not doing a real differential etiology, and not doing real

science. He is offering results-driven testimony, saying whatever he thinks he needs to say to get

a particular plaintiff over the hump, regardless of whether it contradicts something he said in a
different case (or even in his report in the same case). For example, he blows off some risk

factors because the studies are “only” correlative, but he accepts Roundup as a substantial cause

while acknowledging that those studies are only correlative as well. His testimony on smoking is

all over the map—to the point where he discounts smoking for one plaintiff who smoked for 24

years. He also seems unfamiliar with the evidence regarding the important risk factor of obesity.

These are but a few examples. As discussed below, one plaintiff has gotten lucky, because

Monsanto has not pointed to anything that would require exclusion of Hamburg’s opinion. The


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    The plaintiffs’ motion to amend their opposition (Dkt. No. 19448) is granted.


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remaining plaintiffs are not so lucky. There are more flaws, errors, and inconsistencies than the

ones discussed in this ruling, but the ones mentioned discussed here are enough to warrant

exclusion.

       1. In the Iona case, Hamburg’s “ruling out” process was deficient for at least three

reasons. First, his report seems to imply that because Iona smoked only two to three cigarettes a

day and quit in 2019, she had no excess risk for developing NHL from her smoking. See

Hamburg Report (Iona) (Dkt. No. 19051-2) at 17–18. This is obviously a serious problem—

Hamburg characterizes her as a former smoker even though she was diagnosed with NHL the

same year she quit. See id. at 16. Moreover, at deposition, Hamburg testified he did not rule out

smoking as a risk factor and would not say whether Iona’s history of smoking increased her risk

for NHL more or less than her exposure to Roundup. See Hamburg Dep. (Iona) (Dkt. No. 19051-

4) at 44:22–46:10. Second, Hamburg could not rule out Iona’s lupus as a risk factor for her NHL

and said that the “relative risk of coming down with non-Hodgkin’s lymphoma appears to be

higher in patients with lupus than the strength of the epidemiological review in Roundup.” See

id. at 33:12–16. That testimony seems incompatible with an opinion that exposure to Roundup

was the most likely cause of Iona’s NHL. Third, Hamburg testified that having a first-degree

relative with a hematologic malignancy can increase the risk of developing NHL and agreed that

Iona’s brother’s hematologic malignancy was a risk factor for Iona’s development of NHL. See
id. at 69:6–70:11. But he didn’t consider that fact when he formed his opinions because he didn’t

know about it. See id. at 70:13–17. Given these deficiencies, there is no reliable way for

Hamburg to testify that exposure to Roundup is the mostly likely cause of Iona’s NHL, and his

opinion is excluded.

       2. There are at least two major issues in Berenfeld, both related to inconsistencies

between Hamburg’s report and his deposition testimony. First, in Hamburg’s report, he wrote

that there were “no reports of obesity/high BMI,” but admitted at deposition that Berenfeld was

obese and could not rule that out as a risk factor, even while saying that he was not familiar with
any studies on links between obesity and Berenfeld’s disease. See Hamburg Dep. (Berenfeld)


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(Dkt. No. 19051-6) at 78:17–79:5. Second, Hamburg wrote in his report that Berenfeld’s “family

history is unremarkable for malignancies of the blood,” but admitted at deposition that

Berenfeld’s records show her mother had a subtype of NHL called mycosis fungoides. See id. at

81:7–82:6. As in the Iona case, Hamburg testified that having a first-degree relative with a

hematologic malignancy can increase the risk of developing NHL. See id. at 83:3–8. His

explanation that he is “not aware that mycosis fungoides is associated with a familial risk of non-

Hodgkin's lymphoma, per se” doesn’t make any sense—mycosis fungoides is a type of NHL,

and a familial history of NHL is a risk factor. See id. at 82:10–24. And his protestation that

Berenfeld’s mother had “a lot more cancer” than just mycosis fungoides makes even less sense.

Id. His opinion is excluded.

       3. Proctor had squamous cell carcinoma before being diagnosed with NHL. See Hamburg

Dep. (Proctor) (Dkt. No. 19431-11) 122:2–13. Everyone agrees that having squamous cell

carcinoma is a risk factor for developing NHL. In his report, Hamburg noted that Proctor had

been diagnosed with squamous cell carcinoma, but did not discuss how it might have contributed

to the development of his NHL—an omission that’s glaring in its own right. But his deposition

testimony on this topic confirms that his opinion must be excluded. At one point, Hamburg said

that the studies showing an increase in NHL cases for people with squamous cell carcinoma

don’t mean anything because they are “correlative” rather than “causative,” even though
elsewhere he has acknowledged that this is true of the Roundup studies as well. Id. at 123:16.

Hamburg also seemed to say that the carcinoma was irrelevant because Proctor likely got it from

sun exposure. But that just begs the question—regardless of how Proctor got carcinoma, the

question is whether the carcinoma caused the NHL. At a different point Proctor seemed to

acknowledge this, observing that people with other cancers are more likely to develop NHL

because of “immunological changes in the body.” Id. at 131:4. Taken together, this testimony

leaves the listener with no clue how Hamburg could have ruled out carcinoma, and a firm

conviction that he didn’t give the matter any real consideration. The same appears true with
respect to family history. Proctor had a first-degree relative with breast cancer. See id. at 122:2–


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13. The opposition brief argues that a family history of breast cancer is not a recognized risk

factor for NHL so, effectively, it shouldn’t have been “ruled in” in the first place. But that’s

contradicted by Hamburg’s testimony. See id. at 121:23–122:1 (“Q: Do you agree that family

history of a first-degree relative with cancer is a risk factor for non-Hodgkin's lymphoma? A:

Yes.”). And Hamburg testified that he could not rule it out. But he offered no explanation for

why, in light of this, he reached such a firm conviction that Roundup was the cause of Proctor’s

NHL, rather than family cancer history (or, for that matter, Proctor’s own carcinoma). This

opinion is excluded as well.

       4. Hamburg is excluded in Thompson for the unreliable way he addressed the plaintiff’s

smoking and the plaintiff’s family history of lung cancer. In his report, Hamburg explains that

“smoking is another recognized risk factor for the development of non-Hodgkin’s lymphoma,”

and cites a 2017 study. Hamburg Report (Thompson) (Dkt. No. 19431-5) at 9. Then, relying on a

footnote in that study, he references a 2014 study that found an elevated risk for NHL for people

who smoked cigarettes for 40 or more years. Id. Since Thompson “only” smoked for 24 years,

Hamburg ruled it out. This is not science. Hamburg appears to have simply ignored the larger

findings of the study he cited in favor of a single datapoint buried in a footnote that does not

even appear helpful. He even contradicts himself in testimony he’s given in the other cases,

where he has said “most of the data looks at increases above ten-pack-a-year cigarette smoking
at minimum.” Hamburg Dep. (Berenfeld) (Dkt. No. 19051-6) at 78:5–6. If that wasn’t enough,

like in Proctor, Hamburg testified that Thompson’s family history of lung cancer would increase

his risk of any type of malignancy, but he provided no coherent explanation for how he could

rule it out as a cause. See Hamburg Dep. (Thompson) (Dkt. No. 19431-13) at 48:18–24.

       5. In Belfleur, Monsanto takes issue with how Hamburg considered the plaintiff’s age,

gender, diabetes, hepatitis B, obesity, and family history of cancer. Hamburg testified that these

are all risk factors for NHL but, for at least some of the factors, he did not address them in his

report, and he testified he could not rule them out. His opinion is excluded.
       6. In Holmes, Hamburg’s report says Holmes has never had hepatitis and has never been


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obese. See Hamburg Report (Holmes) 19431-18 at 10. But at deposition, Monsanto presented a

document that showed Holmes’ doctor called him a chronic hepatitis B patient, and Monsanto

has presented at least some evidence that hepatitis B is a risk factor for NHL. See Hamburg Dep.

(Holmes) 52:6–10. Similarly, Hamburg admitted at deposition that at least in 2014, Holmes was

obese, and Hamburg agreed that being obese is correlated with NHL. See id. at 56:10–57:5.

Hamburg’s opinion in Holmes is excluded.

        7. Monsanto’s attack on Hamburg’s opinion in the Glassman case is limited to the fact

that he didn’t calculate Glassman’s BMI. Monsanto has not presented evidence that Glassman

was obese. That issue alone is not enough to render his opinion unreliable in that case, nor are

Monsanto’s arguments about naturally occurring genetic mutations, so Hamburg will be

permitted to testify. Monsanto’s request to exclude Hamburg’s opinion that Glassman’s

subsequent skin cancers were secondary to his NHL treatment is not a question of NHL

causation, so will be left for the trial court to decide.

                                                    *   *   *

        In the Glassman case, Monsanto’s motion for summary judgment is denied because it has

not offered a basis for excluding Hamburg’s specific causation opinion. The Court will withhold

ruling on Monsanto’s motion for summary judgment in the other cases until the Court has

finished deciding the remaining Wave 7 Daubert motions. See Pretrial Order No. 314 (Dkt. No.
20341) at 3–4.

        IT IS SO ORDERED.

Dated: March 28, 2025
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge




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